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AO 91 (Rev. 11/41) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

   
 

 

Southern District of "eS

United States of America
¥.
Case No.

M-15-1937-M

Ernesto Hernandez-Montemayor
Mexico; YOB 1961

 

Defendant(s) AMENDED

CRIMINAL COMPLAINT

1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 2005 to December 2010__in the county of __ Cameron and elsewhere __ in the

 

 

___ Southem District of _ Texas. , the defendant(s) violated:
Code Section Offense Description
Title 18, U.S.C, §§ 1349, 1343 Defendant did conspire and agree with other persons to execute a scheme.

and artifice to defraud and to obtain money and property by means of false
and fraudulent pretenses, representations, and promises,did knowingly cause
‘to be transmitted by means of wire communication in interstate or foreign
commerce, certain writings, signs, signals and sounds.

This criminal complaint is based on these facts:

See Attached Affidavit

@ Continued on the attached sheet. . 4

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A prsaued , ok C / Complainefit’s signature
Dolact WiMeb- AV ie James Lara, HS! Special Agent
il | L | 21 “a Printed name and title

Sworn to before me and signed in my presence.

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— Judge's signature

City and state: McAllen, Texas Peter E. Ormsby
oe ; Printed name and title
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
MCALLEN DIVISION

UNITED STATES OF AMERICA

Vv. | Case No. M-15-/937-M .
ERNESTO HERNANDEZ MONTEMAYOR, Filed Under Seal

Defendant.

 

AFFIDAVIT IN SUPPORT OF
CRIMINAL COMPLAINT AND ARREST WARRANT

I, James Lara, (“Affiant”), being first duly sworn, hereby depose and state as
follows:
INTRODUCTION AND AFFIANT’S BACKGROUND

A. Tam a Special Agent with Homeland Security Investigations (“HSI”). [am an
investigative or law enforcement officer of the United States within the meaning of Title 18,
United States Code, Section 2510(7), that is, an officer of the United States who is empowered
by law to.conduct investigations and to make arrests for federal felonies.

2. I have been employed by HSI since 2007. During my tenure as an HSI Special
Agent, I have participated in numerous criminal investigations involving violent crimes, fugitive
apprehensions, white collar crime, as well as other unlawful activities. [ have participated in
numerous searches, arrests, and seizure warrants involving a variety of offenses. Iam currently
assigned to the Brownsville, Texas Division of HSI

3. I make this affidavit in support of a criminal complaint and arrest warrant related
to fraud and money laundering by the defendant, ERNESTO HERNANDEZ
_ MONTEMAYOR (“HERNANDEZ”). The information contained in this affidavit is based

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upon my personal knowledge, as well as information obtained from other sources, including (a)
statements made or reported by various witnesses, including cooperating witnesses, with
knowledge of relevant facts; (b) my review of publicly available information relating to
HERNANDEZ and other relevant individuals and entities; (c) documents obtained from various
sources; and (d) discussions with other law enforcement officials. I have limited this affidavit to
those facts necessary to support a finding of probable cause that HERNANDEZ violated Title
18, United States Code, Section 1349 (conspiracy to commit Wire Fraud). Accordingly, this
affidavit does not include a complete recitation of the entire investigation or of each and every
fact and matter observed by or known to law enforcement relating to the subject matter of this
investigation. Additionally, unless otherwise noted, wherever in this affidavit I assert that a
statement was made by an individual, that statement is described in substance and in part, and is
~ not intended to be a verbatim recitation of the entire statement made by the individual.
PROBABLE CAUSE |

Entities and Individuals
4, El Gobierno de Tamaulipas (the “Tamaulipas Government”) is the government of
one of the thirty-one states that comprise Mexico.

5. “Aviation Corporation A” was a United States company, located in the Southern
District of Texas, which provided maintenance, repair, overhaul, and related services to
customers in the United States and Mexico, including to the Tamaulipas Government.

6. Cooperating Witness 1 (“CW1”) is a citizen of the United States and resident of .
Texas. At all relevant times, CW1 was an employee of Aviation Corporation A. CWi has

agreed in principle to a cooperating plea agreement that would permit for the government to
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recommend a reduced sentence if CW1 truthfully and substantially assists the government’s
investigation.
7. Cooperating Witness 2 (“CW2”) is a citizen of the United States and a resident of
Texas. At all relevant times, CW2 was an employee of Aviation Corporation A. CW2 has
agreed in principle to a cooperating plea agreement that would permit for the government to
recommend a reduced sentence if CW2 truthfully and substantially assists the government’s
investigation.
8. Witness 3 is a citizen of the United States and a resident of Texas. At all relevant
times, Witness 3 was an employee of Aviation Corporation A.
9: Defendant HERNANDEZ was an employee of the Tamaulipas Government with —
_ responsibility for maintaining the Tamaulipas Government’s aircraft between in or around 2005
through in or around December 2010.
10. HERNANDEZ was a signatory on bank accounts at the Lone Star National Bank
in the Southern District of Texas. | | |
The Kickback Payments and the Scheme to Defraud
11. CW told the government that the Tamaulipas Government has been a customer
of Aviation Corporation A since at least approximately 1975. According to CW1 and CW2,
HERNANDEZ was the Chief Pilot for the Tamaulipas Government from approximately 2005 to
- 2010, and represented the Tamaulipas Government in all aviation maintenance matters.
According to CW1 and CW2, they reached an agreement with HERNANDEZ to pay
HERNANDEZ kickbacks on sales that Aviation Corporation A made to the Tamaulipas
Government. CW1-and CW2 told the government that Aviation Corporation A would increase

the prices it charged the Tamaulipas Government to include the money that Aviation Corporation

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A promised to HERNANDEZ, and that Aviation Corporation A deposited kickback payments
into HERNANDEZ’s bank account at Lone Star National Bank in the Southern District of
Texas. cw? told the government that he spoke with HERNANDEZ about the kickback
payments in person and over the telephone within the Southern District of Texas.

12. The information provided by CW1 and CW2 is corroborated by documents, bank
records, and information provided by other witnesses.

13. For example, Witness 3 told the government that he would add amounts to
invoices to the Tamaulipas Government to cover the cost of the kickbacks to HERNANDEZ. 7

- 14. In addition, Aviation Corporation A gave to the government copies of Aviation

Corporation A’s invoices to customers, including an invoice dated March 1, 2007 that shows the
Tamaulipas Government as Aviation Corporation A’s customer and includes total charges of
$150,000. Bank records show that Aviation Corporation A received $150,000 from the
- Tamaulipas Government via a wire payment received on or about March 12, 2007. Bank records
also show that on or about March 14, 2007, Aviation Corporation A made a $140,000 payment
to HERNANDEZ into HERNANDEZ’s bank account at Lone Star National Bank in the
Southern District of Texas. |

15. Bank records show multiple other instances where the Tamaulipas Government
‘made a wire payment to Aviation Corporation A’s bank account in Texas and Aviation
Corporation A made a payment to HERNANDEZ shortly thereafter.

16. For example, bank records show that Aviation Corporation A’s bank account in
Texas received a $68,107 wire payment from the Tamaulipas Government on or about May 14,
2010, and Aviation Corporation A made a $40,000 payment to HERNANDEZ on or about May

17, 2010.

 
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17. Bank records show that Aviation Corporation A’s bank account in Texas received
a $58,141 wire payment from the Tamaulipas Government on or about July 12, 2010, and
Aviation Corporation A made a $40,000 payment to HERNANDEZ on or about July 14, 2010.

18. Bank records show that show that Aviation Corporation A’s bank account in
Texas received an $82,232 wire payment from the Tamaulipas Government on or about
December 13, 2010, and Aviation Corporation A made a $35,000 payment to HERNANDEZ on
or about December 22, 2010. |

CONCLUSION

19. Based on the forgoing, I believe that probable cause exists to issue a criminal
complaint and arrest warrant charging ERNESTO HERNANDEZ MONTEMAYOR with
. violating Title 18, United States Code, Section 1349 (conspiracy to commit Wire Fraud).
I declare under the penalty of perjury that the foregoing is true and correct to the best of

my knowledge.

Respectfully submitted,

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Jameb L
SpecialA gent
Homeland Security Investigations

Subscribed and sworn to before me on Jel Cans Aw Cc , 2015 -

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UMTED STATES MAGISTRATE JUDGE

 

 
